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 1                          AFFIDAVIT OF CHRISTINE HUGHEY
 2 STATE OF WASHINGTON                  )
                                        )      ss
 3
     COUNTY OF KING                     )
 4
 5         I, Christine Hughey, a Special Agent with the Federal Bureau of Investigation,
 6 Seattle, Washington, being first duly sworn, hereby depose and state as follows:
 7                                      INTRODUCTION
 8         1.       This Affidavit is being submitted pursuant to Federal Rule of Criminal
 9 Procedure 41 in support of an Application for a warrant authorizing the search of the
10 following vehicle and cell phones, as further described in Attachment A, which is
11 attached hereto and incorporated herein, for the items to be searched for and seized
12 described in Attachment B, which is attached hereto and incorporated herein:
13                  a.    A gray 2007 BMW 328 bearing Washington license plate CAY0338,
14         VIN #WBAVC53507FZ70985, which was seized by the Snohomish County
15         Sheriff’s Office on or about October 9, 2021, and is now stored in a secure vehicle
16         processing area (the “Subject Vehicle”).
17                  b.    Device 1: A rectangular-shaped smart phone in what appears to be a
18         black case, located on the front seat of the Subject Vehicle (“Subject Device 1”).
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25                  c.    Device 2: A gray Alcatel flip phone with what appears to be an
26         instructional sticker on the phone, located on the front seat of the Subject Vehicle
27         (“Subject Device 2”).
28
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 7          2.       Based on my training and experience and the facts as set forth in this
 8 Affidavit, there is probable cause to believe that violations of Title 21, United States
 9 Code, Sections 841 (Distribution of Controlled Substances), and 843(b) (Use of
10 Communication Facility to Facilitate Controlled Substance Offense), have been
11 committed by Zachery Farnam. There is also probable cause to believe that the Subject
12 Vehicle and Subject Devices described above contain evidence of the aforementioned
13 offenses. As such, there is probable cause to search the locations described in Attachment
14 A, for evidence, instrumentalities, or contraband of these crimes, as described in
15 Attachment B. Obtaining the information sought in this Affidavit is necessary to further
16 the investigation into these offenses.
17                                    AGENT BACKGROUND
18          3.       I am employed as a Special Agent (SA) with the Federal Bureau of
19 Investigation (FBI) and have been employed with the FBI since April 2006. I am
20 currently assigned to the Seattle Field Division where I am a member of the violent
21 crime, gang, and Transnational Organized Crime – Western Hemisphere squad. I have
22 completed all mandatory training as required for FBI Agents.
23          4.       In my role as a Special Agent for the FBI, I have participated in multiple
24 investigations that have resulted in the arrest of individuals and the seizure of illicit
25 narcotics and/or narcotics-related evidence and the forfeiture of narcotics-related assets. I
26 have been involved in the service of federal and state search warrants as part of these
27 investigations.
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 1         5.       I am an investigative law enforcement officer of the United States within
 2 the meaning of 18 U.S.C. § 2510(7). As such, I am empowered to conduct investigations
 3 of, and to make arrests for, violations of the Controlled Substance Act, Title 21, United
 4 States Code, Section 841 et seq., and related offenses.
 5         6.       The facts set forth in this Affidavit are based on my own personal
 6 knowledge; knowledge obtained from other individuals during my participation in this
 7 investigation, including other law enforcement personnel; review of documents and
 8 records related to this investigation; communications with others who have personal
 9 knowledge of the events and circumstances described herein; and information gained
10 through my training and experience. Because this Affidavit is submitted for the limited
11 purpose of establishing probable cause in support of the Application for the search
12 warrant, it does not set forth each and every fact that I or others have learned during the
13 course of this investigation.
14                                     APPLICABLE LAW
15         7.       Title 21, United States Code, Section 841 provides for criminal penalties
16 for the distribution of, and possession with intent to distribute, controlled substances.
17 Title 21, United States Code, Section 843(b) makes it a felony offense to use a
18 communications facility (including cellular telephones) to facilitate a controlled
19 substance offense.
20                KNOWLEDGE BASED ON TRAINING AND EXPERIENCE
21         8.       Based upon my training and experience, including my experience in this
22 investigation, and my discussions with other experienced officers and agents involved in
23 drug investigations, I know the following:
24                  a.    Traffickers of controlled substances, and those who assist them,
25         maintain and tend to retain accounts or records of their drug trafficking activities,
26         including lists of drug quantities and money owed, telephone records including
27         contact names and numbers, photographs, and similar records of evidentiary value.
28         These items are generally kept in locations where drug traffickers believe their
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 1        property is secure and will remain undetected from law enforcement, such as
 2        inside their homes, vehicles, storage lockers, businesses, and digital devices,
 3        including cell phones, thumb drives, SD cards, tablets, and laptops.
 4               b.     Traffickers of controlled substances commonly maintain records
 5        reflecting names or nicknames, addresses, and/or telephone numbers of their
 6        suppliers, customers and associates in the trafficking organization. Traffickers
 7        commonly maintain this information in books or papers as well as in their cellular
 8        telephones, thumb drives, SD cards, tablets, and laptops. Traffickers often
 9        maintain cellular telephones, tablets, laptops, thumb drives, and SD cards for
10        ready access to their clientele and to maintain their ongoing drug trafficking. It is
11        common for traffickers to use more than one cellular telephone at any one time.
12               c.     Traffickers maintain evidence of their criminal activity at locations
13        that are convenient to them, including their residences, vehicles, and storage
14        lockers. This evidence often includes not only contraband and paraphernalia, but
15        also financial records, records of property and vehicle ownership, records of
16        property rented, and other documentary evidence relating to their crimes. Drug
17        traffickers sometimes take or cause to be taken photographs and/or video
18        recordings of themselves, their associates, their property, and their illegal product.
19        These individuals often maintain these photographs and recordings in their
20        possession or at their premises stored on digital devices, including cell phones.
21               d.     During the execution of search warrants, it is common to find
22        papers, letters, billings, documents, and other writings which show ownership,
23        dominion, and control of vehicles, residences, and/or storage units.
24               e.     Persons trafficking and using controlled substances commonly sell
25        or use more than one type of controlled substance at any one time.
26               f.     Traffickers frequently maintain items necessary for weighing,
27        packaging, and cutting drugs for distribution. This paraphernalia often includes,
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 1        but is not limited to, scales, plastic bags and cutting/diluting agents and items to
 2        mask the odor of drugs.
 3               g.     It is common for drug dealers to also be users of their product, and
 4        that it is common for the drug user to maintain paraphernalia associated with the
 5        use of controlled substances.
 6               h.     Traffickers frequently maintain records, books, notes, ledgers, travel
 7        documents, and other papers relating to the transportation and distribution of
 8        controlled substances, including travel records, in locations convenient to them,
 9        such as their residences and vehicles.
10               i.     Traffickers frequently keep on hand amounts of United States
11        currency in order to maintain and finance their ongoing narcotics business. They
12        commonly deal in currency because of its untraceable nature. They sometimes
13        convert their illicit currency into currency equivalents such as cashier’s checks and
14        money orders. Traffickers often conceal in secure locations such as their
15        residences and vehicles currency, financial instruments, precious metals, jewelry,
16        and other items of value which are the proceeds of drug transactions, and evidence
17        of consequential financial transactions relating to obtaining, transferring,
18        secreting, or spending large sums of money made from engaging in drug
19        trafficking activities, and financial books, records, receipts, notes, ledgers, diaries,
20        journals, and all records relating to income, profit, expenditures, or losses, and
21        other records showing the management of such assets. Traffickers often have
22        money counters.
23               j.     Traffickers often maintain weapons, including guns, ammunition,
24        and body armor, in secure locations such as their residences and vehicles, in order
25        to protect their drugs and drug proceeds.
26               k.     Traffickers often have false identification documents and
27        identification documents in the names of others in order to conceal their identities.
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 1                  l.    Traffickers very often place assets in names other than their own, or
 2         use fictitious names and identification, to avoid detection of these assets by
 3         government agencies, and that even though these assets are in other persons’
 4         names, the drug dealers actually own and continue to use these assets and exercise
 5         dominion and control over them.
 6                  m.    Illegal drug trafficking is a continuing activity over months and even
 7         years. Illegal drug traffickers will repeatedly obtain and distribute controlled
 8         substances on a somewhat regular basis, much as any distributor of a legitimate
 9         commodity would purchase stock for sale and, similarly, such drug traffickers will
10         have an “inventory” which will fluctuate in size depending upon various factors to
11         include the demand and supply for the product. I would expect the trafficker to
12         keep records of his illegal activities for a period of time extending beyond the time
13         during which he actually possesses illegal controlled substances, in order that he
14         can maintain contact with his criminal associates for future drug transactions, and
15         so that he can have records of prior transactions for which, for example, he might
16         still be owed money, or might owe someone else money. These records are often
17         created in code.
18         9.       As noted above, drug dealers use cellular telephones and other digital
19 devices, including tablets, laptops, thumb drives, and SD cards, as a tool or
20 instrumentality in committing their criminal activity. They use them to maintain contact
21 with their suppliers, distributors, and customers. They prefer cellular telephones and
22 portable digital devices because, first, they can be purchased without the location and
23 personal information that land lines require. Second, they can be easily carried to permit
24 the user maximum flexibility in meeting associates, avoiding police surveillance, and
25 traveling to obtain or distribute drugs. Third, they can be passed between members of a
26 drug conspiracy to allow substitution when one member leaves the area temporarily. It is
27 common for drug traffickers to retain in their possession phones that they previously
28 used, but have discontinued actively using, for their drug trafficking business. Based on
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 1 my training and experience, the data maintained in a cellular telephone or other digital
 2 device used by a drug dealer is evidence of a crime or crimes. This includes the
 3 following:
 4                a.     The assigned number to the cellular telephone (known as the mobile
 5         directory number or MDN), and the identifying telephone serial number
 6         (Electronic Serial Number, or ESN), (Mobile Identification Number, or MIN),
 7         (International Mobile Subscriber Identity, or IMSI), or (International Mobile
 8         Equipment Identity, or IMEI) are important evidence because they reveal the
 9         service provider, allow us to obtain subscriber information, and uniquely identify
10         the telephone. This information can be used to obtain toll records, to identify
11         contacts by this telephone with other cellular telephones used by co-conspirators,
12         to identify other telephones used by the same subscriber or purchased as part of a
13         package, and to confirm if the telephone was contacted by a cooperating source or
14         was intercepted on a wiretap here or in another district.
15                b.     The stored list of recent received calls and sent calls, as well as the
16         voicemail content from missed calls, is important evidence. It identifies telephones
17         and individuals recently in contact with the telephone user. This is valuable
18         information in a drug investigation because it will identify telephones used by
19         other members of the organization, such as suppliers, distributors, and customers,
20         and it confirms the date and time of contacts. If the user is under surveillance, it
21         identifies what number he called during or around the time of a drug transaction or
22         surveilled meeting. If the caller leaves a voicemail, it also may help identify the
23         caller and the purpose of the call. Even if a contact involves a telephone user not
24         part of the conspiracy, the information is helpful (and thus is evidence) because it
25         leads to friends and associates of the user who can identify the user, help locate the
26         user, and provide information about the user. Identifying a defendant’s law-
27         abiding friends is often just as useful as identifying his drug-trafficking associates.
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 1               c.      Stored text messages, emails, and any social media content/messages
 2        (like Facebook messenger) are important evidence, similar to stored numbers.
 3        Agents can identify both drug associates and friends of the user who likely have
 4        helpful information about the user, his location, and his activities and purpose for
 5        meeting.
 6               d.      Stored documents and files are also important and can identify drug
 7        associates as well as means and methods of money laundering activities of drug
 8        traffickers.
 9               e.      Photographs and video recordings on a cellular telephone, thumb
10        drive, SD card, laptop, tablet, or portable hard drive, including metadata, are
11        evidence because they help identify the user, either through his or her own
12        picture/video, or through pictures/videos of friends, family, and associates that can
13        identify the user and the locations the user has been. Pictures/videos also identify
14        associates likely to be members of the drug trafficking organization. Some drug
15        dealers photograph/video groups of associates, sometimes posing with weapons
16        and showing identifiable gang signs. Also, digital photos often have embedded
17        “geocode” or GPS information embedded in them. Geocode information is
18        typically the longitude and latitude where the photo was taken. Showing where the
19        photo was taken can have evidentiary value. This location information is helpful
20        because, for example, it can show where coconspirators meet, where they travel,
21        and where assets might be located.
22               f.      Stored web browsing history is important evidence because it shows
23        the user’s activities and places of interest, including if the user looked up
24        addresses, restaurants, and other businesses on a web browser on the cell phone,
25        which can show where coconspirators meet, where they travel, and where assets
26        might be located. Moreover, through web browsing history, a user can also access
27        or look up associates or coconspirators on social media, which is valuable
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 1         information in a drug investigation because it will identify members of the
 2         organization, such as suppliers, distributors and customers.
 3                g.     Stored address records are important evidence because they show the
 4         user’s close associates and family members, and they contain names and
 5         nicknames connected to phone numbers that can be used to identify suspects.
 6                h.     Stored data in money transfer applications, such as Venmo and
 7         CashApp, are important evidence because they show from whom and to whom the
 8         user is sending money. In the era of digital currency and online money transfers, I
 9         know based on my training and experience drug traffickers use Cash App and
10         other money transfer applications to pay for drug products in lieu of physical cash.
11         Accordingly, any stored data on money transfer applications on cell phones can
12         show the user’s drug trafficking associates, customers, and other connections.
13                i.     Stored location data, including from any map applications on the cell
14         phone or portable digital device, are important evidence because the data can show
15         where the user has been, including addresses of residences and business parking
16         lots, which can show stash house locations, drug transaction meeting locations, or
17         the addresses of a drug trafficker’s associates, customers, or suppliers.
18                          STATEMENT OF PROBABLE CAUSE
19          10.   The United States, including the FBI, is conducting a criminal investigation
20 of Zachery Farnam regarding possible violations of Title 21, United States Code,
21 Sections 841 and 843(b), and related crimes.
22   Probable Cause for Zachery Farnam, the Subject Vehicle, and the Subject Devices
23         11.    In October 2021, Zachery Farnam was on federal supervised release for
24 2015 convictions of felon in possession of a firearm and possession of
25 methamphetamines with intent to distribute, for which he received a sentence of 60
26 months in custody and five years of supervised release. The conditions of supervised
27 release included that the defendant not commit any other crimes, not unlawfully possess
28 or use any controlled substances, and submit to searches conducted by U.S. Probation at a
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 1 reasonable time, in a reasonable manner, and based upon reasonable suspicion of
 2 contraband or violation of conditions of supervision.
 3         12.      On October 9, 2021, at 2337 hours Deputy E. Martin of the Snohomish
 4 County Sheriff’s Department conducted a traffic stop of a vehicle at 23516 23rd Avenue
 5 NE, Arlington, Washington. He stopped the vehicle, a gray 2007 BMW 328 bearing
 6 Washington license plate CAY0338 (the Subject Vehicle), for no front license plate,
 7 which is a violation of local law. The driver, identified as Zachery Alexander Farnam,
 8 was found to have a felony U.S. Marshal’s warrant. Deputy Martin verified the warrant
 9 and arrested Farnam. Subsequent to making the arrest and from outside the vehicle,
10 Deputy Martin observed a pill on the floorboard of the of the vehicle, which he identified
11 as an “M-30” pill. An M-30 pill is a small round pill, often blue in color and usually
12 stamped with the marking “M-30,” which is a counterfeit pill made to look like the
13 prescription opioid oxycontin/oxycodone and which often contains fentanyl in addition to
14 other opioids.
15         13.      Stillaguamish Police Department Officer Bahrakis arrived and applied his
16 narcotics K9 to the Subject Vehicle at the scene of the stop. The K-9 indicated positive
17 for the presence of narcotics within the Subject Vehicle. Deputy Martin seized the
18 Subject Vehicle and arranged for it to be transported to a Snohomish County Sheriff’s
19 Office secure location pending application for a search warrant or other investigative
20 steps, where it remains.
21         14.      On November 9, 2021, U.S. Probation officers conducted a search of the
22 vehicle within their authority and the conditions of Farnam’s supervised release. During
23 the search, they seized the following items: a 4.6 ounce bag of methamphetamine, a bag
24 containing 2.7 ounces of M-30 pills, the single M-30 pill observed by Deputy Martin, six
25 small containers of marijuana, a digital scale, an asp baton, a can of bear spray, $1,800 in
26 apparent counterfeit U.S. currency, $11,100 in U.S. currency, and papers of dominion
27 and control over the vehicle in Zachery Farnam’s name. These are depicted below.
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15         15.    The U.S. Probation officers also observed and photographed, but did not
16 seize from the vehicle, two cell phones that they left behind on the front passenger seat.
17 The phones were a rectangular-shaped smart phone in what appears to be a black case
18 (Subject Device 1) and a gray Alcatel flip phone with what appears to be instructional
19 sticker on the phone (Subject Device 2).
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13          16.   Based on the facts of the investigation stated above, as well as my training
14 and experience of drug traffickers generally as set forth above, I believe that the quantity
15 of methamphetamine and M-30 pills are strongly indicative of drug trafficking, especially
16 when coupled with Zachery Farnam’s criminal history of drug trafficking, and the scale,
17 weapons, and cash that were also in his car. I also believe that the contents of Subject
18 Device 1 and Subject Device 2 may contain evidence of Zachery Farnam’s drug
19 trafficking activities. This could include the names and phone numbers of his associates;
20 photographs of narcotics, proceeds, or packaging; documents and files concerning money
21 laundering and financial transactions; and text messages, emails, or other
22 communications arranging narcotics transactions. As discussed above, drug traffickers
23 often use multiple digital devices in their drug trafficking business, and it is common to
24 find drug traffickers in possession of multiple phones at one time. It is common for
25 traffickers to retain possession of older phones that are no longer in use. Those phones
26 often still contain evidence of drug trafficking, such as text messages, emails,
27 photographs, financial transactions, and stored contacts, as discussed at further length
28 above.
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 1                                     SEARCH TECHNIQUES
 2         17.    Based on the foregoing, and consistent with Rule 41(e)(2)(B) of the Federal
 3 Rules of Criminal Procedure, the warrant I am applying for will permit imaging or
 4 otherwise copying all data contained on Subject Devices 1 and 2, and will specifically
 5 authorize a review of the media or information consistent with the warrant.
 6         18.    In accordance with the information in this Affidavit, law enforcement
 7 personnel will execute the search of Subject Devices 1 and 2 pursuant to this warrant as
 8 follows:
 9                a.     Securing the Data
10                       i.     In order to examine the electronically stored information
11                (ESI) in a forensically sound manner, law enforcement personnel with
12                appropriate expertise will attempt to produce a complete forensic image, if
13                possible and appropriate, of Subject Devices 1 and 2.
14                       ii.    Law enforcement will only create an image of data physically
15                present on or within Subject Devices 1 and 2. Creating an image of the
16                Subject Devices 1 and 2 will not result in access to any data physically
17                located elsewhere. However, Subject Devices 1 and 2 that have previously
18                connected to devices at other locations may contain data from those other
19                locations.
20                       iii.   The applied-for warrant authorizes the forensic examination
21                of Subject Devices 1 and 2 for the purpose of identifying electronically
22                stored data particularly described in Attachment B. This review may be
23                conducted by any federal or local government personnel assisting in the
24                investigation, who may include, in addition to law enforcement officers and
25                agents, federal and local contractors and support staff, attorneys for the
26                government, attorney support staff, and technical experts. Pursuant to the
27                requested warrant, the FBI may deliver a complete copy of the electronic
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 1                data to the custody and control of attorneys for the government and their
 2                support staff for their independent review.
 3                b.     Searching the Forensic Images
 4                Searching the forensic images for the items described in Attachment B may
 5         require a range of data analysis techniques. In some cases, it is possible for agents
 6         and analysts to conduct carefully targeted searches that can locate evidence
 7         without requiring a time-consuming manual search through unrelated materials
 8         that may be commingled with criminal evidence. In other cases, however, such
 9         techniques may not yield the evidence described in the warrant, and law
10         enforcement may need to conduct more extensive searches to locate evidence that
11         falls within the scope of the warrant. The search techniques that will be used will
12         be only those methodologies, techniques, and protocols as may reasonably be
13         expected to find, identify, segregate, and/or duplicate the items authorized to be
14         seized pursuant to Attachment B to this affidavit.
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                                   ATTACHMENT A
                                Location to Be Searched
       The property to be searched consists of the following vehicle and digital devices,
which are currently in the custody of the Snohomish County Sheriff’s Office and located
in a secure vehicle processing area.
       1.     Subject Vehicle: A gray 2007 BMW 328 bearing Washington license plate
CAY0338, VIN #WBAVC53507FZ70985, which was seized by the Snohomish County
Sheriff’s Office on or about October 9, 2021, and is now stored in a secure vehicle
processing area.
       With respect to the Subject Vehicle, the search is to include all containers, locked
       or unlocked, where the items in Part I of Attachment B could be found.


       2.     Subject Device 1: A rectangular-shaped smart phone in what appears to be
a black case, located on the front seat of the Subject Vehicle, as depicted below.




       3.     Subject Device 2: A gray Alcatel flip phone with what appears to be an
instructional sticker on the phone, located on the front seat of the Subject Vehicle, as
depicted below.




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ATTACHMENT A - 1                                        UNITED STATES ATTORNEY
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                                     ATTACHMENT B
                            Items to Be Searched for and Seized


       This warrant authorizes the government to search for and seize the following items
that are evidence, fruits, and/or instrumentalities of the crimes of possession with intent
to distribute and distribution of narcotics, in violation of Title 21, United States Code,
Section 841(a)(1), and use of a communication facility to facilitate such offenses, in
violation of Title 21, United States Code, Section 843. The Court finds reasonable
necessity for the seizure of the items identified below. See 18 U.S.C. § 3103a(b)(2).
       I.     The Subject Vehicle.
              a.       Any controlled substances and suspected controlled substances,
including but not limited to cocaine, crack cocaine, and marijuana.
              b.       Drug paraphernalia, meaning items used or intended to be used to
store, process, package, use, and/or distribute controlled substances, such as plastic bags,
cutting agents, scales, measuring equipment, chemicals or similar items used to test the
purity and/or quality of controlled substances, and similar items.
              c.       Drug transaction records, meaning documents such as ledgers,
receipts, notes, and similar items relating to the acquisition, transportation, and
distribution of controlled substances.
              d.       Customer and supplier information, including items identifying drug
customers and drug suppliers, such as telephone records, personal address books,
correspondence, diaries, calendars, notes with phone numbers and names, “pay/owe
sheets” with drug amounts and prices, maps or directions, and similar items.
              e.       Cash, precious metals, jewelry, and other similar items of value,
and/or proceeds of drug transactions, as well as money counters.
              f.       Documents and other property, such as photographs, mail, or other
items, tending to show who owns, possesses, uses, or has dominion and control over the
location.
 ATTACHMENT B - 1                                                     UNITED STATES ATTORNEY
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              g.        Firearms or parts thereof, ammunition, firearms magazines, firearms
accessories, body armor, firearms boxes, firearms manuals, records of the purchase of
firearms, or other items related to the ownership or use of firearms.
              h.        Cell phones and other communications devices, including but not
limited to Subject Device 1 and Subject Device 2. If such cell phones or other
communications devices are seized, the government may search them without further
authorization for the items described in Section II.
       II.    Subject Device 1, Subject Device 2, and any other cell phones or
communications devices seized from the Subject Vehicle.
              a.        Assigned phone number and identifying telephone serial number
       (ESN, MIN, IMSI, or IMEI);
              b.        Stored list of recent received, sent, and missed calls;
              c.        Stored contact information;
              d.        Stored photographs, videos, addresses, calendar notes, notes, map
       history, or documents/files of or related to narcotics, currency, firearms or other
       weapons, and other evidence of narcotics trafficking, including photographs or
       video that may show the user of the phone/digital device or suspected co-
       conspirators, including any embedded GPS data associated with those photographs
       or videos;
              e.        Stored text messages related to the aforementioned crimes of
       investigation, including Apple iMessages, Blackberry Messenger messages, or
       other similar messaging services where the data is stored on the telephone;
              f.        Stored emails related to the aforementioned crimes of investigation;
              g.        Stored voicemails related to the aforementioned crimes of
       investigation;
              h.        Stored web browsing history related to the aforementioned crimes of
       investigation;


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              i.       Stored social media content/history related to the aforementioned
       crimes of investigation;
              j.       Stored banking or money transfer history, including application-
       based money transfer data/history (e.g., Venmo or CashApp account data/history)
       and other financial transactions indicative of money laundering of narcotics
       proceeds; and
              k.       Stored location data, including from any map applications on the cell
       phone/digital device.
       The applied-for warrant authorizes the forensic examination of Subject Device 1,
Subject Device 2, and any other cell phones or communications devices seized from the
Subject Vehicle for the purpose of identifying electronically stored data described
herein. This review may be conducted by any federal or local government personnel,
sworn or non-sworn, assisting in the investigation, who may include, in addition to law
enforcement officers and agents, federal and local contractors and support staff, attorneys
for the government, attorney support staff, and technical experts. Pursuant to the
requested warrant, the FBI may deliver a complete copy of the electronic data to the
custody and control of attorneys for the government and their support staff for their
independent review.




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